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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

       NICOLE CLARKE-SMITH,                §
            Plaintiff/Counter-Defendant,   §
                                           §
       v.                                  § CIVIL ACTION NO. 3:14-cv-02732-M
                                           §
       BUSINESS PARTNERS IN                §
       HEALTHCARE, LLC,                    §
            Defendant/Counter-Plaintiff.   §

                    DEFENDANT/COUNTER PLAINTIFF’S RESPONSE TO
                         PLAINTIFF/COUNTER-DEFENDANT’S
                         MOTION FOR SUMMARY JUDGMENT



       DATED: July 27, 2015

                                           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2015, a true and correct copy of Defendant/Counter-

       Plaintiff’s Response to Plaintiff/Counter-Defendant’s Motion for Summary Judgment

       was served on Plaintiff/Couner-Defendant’s counsel electronically.

                                                                            /s/ Elizabeth K. Stepp
                                                                                Elizabeth K. Stepp




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           COMES NOW, Defendant/Counter-Plaintiff Business Partners in Healthcare,

    LLC (“Defendant” or “BPIH”), and files its Response in Opposition to Plaintiff/Counter-

    Defendant’s Motion for Summary Judgment (the “Motion”), and would respectfully

    show as follows:

                                     I.         INTRODUCTION

           Plaintiff/Counter-Defendant Nicole Clarke-Smith (“Plaintiff” or “Clarke-

    Smith”)’s direction of BPIH’s human resources department left the company in a state of

    disaster, suffering consequences that are still being felt, and paid for, today. A non-

    exhaustive list of her egregious behavior includes:

                •   Failing to send out COBRA notices, and lying to the Department of Labor

                    both about sending out the notices and about having provided proof of

                    such mailing to the DOL;

                •   Violating the requirement that 401k deposits be made in a timely manner,

                    costing the company thousands of dollars in required reimbursements;

                •   Entering into an unauthorized, detrimental, multi-million dollar contract

                    on behalf of BPIH;

                •   Failing to properly set up state tax withholding for clients in other states,

                    leading to potential fines and sanctions against the company;

                •   Explicitly instructing unqualified applicants to lie on employment

                    applications, knowing that doing so could cause BPIH’s clients to lose

                    their lab certifications;

                •   Not procuring disability and health insurance for employees that had paid

                    for such coverage, leading to potentially millions of dollars in liability;



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                   and

               •   Directly competing with her employer during her employment by acting

                   as the President and CEO of a company providing the same services as

                   BPIH.

           Despite being presented with evidence of all of the above malfeasance, Clarke-

    Smith has now moved for summary judgment on all of BPIH’s claims against her on the

    grounds that BPIH does not have any evidence of her bad acts. To the contrary, BPIH

    has more than sufficient evidence to prove each claim alleged. Because a reasonable jury

    could find for BPIH on each cause of action, Plaintiff’s motion for summary judgment

    must be denied.

                      II. FACTUAL AND PROCEDURAL BACKGROUND

         Nicole-Clarke Smith was terminated when BPIH discovered that the Human

    Resources department (and, therefore, the company) was in crisis due to Plaintiff’s

    complete failure to perform her job duties, causing multiple serious potential legal

    violations. For example, on or about February 24, 2014, BPIH discovered that the

    Department of Labor (“DOL”) had been seeking information from Plaintiff about her

    failure to send out COBRA notices. Declaration of Chris Harrington (“Harrington Dec.”)

    at ¶ 5, App. 4. Plaintiff’s response was to ignore the requests. Id. Plaintiff failed to

    inform anyone at BPIH of the DOL’s demands and threatened investigation. According

    to the DOL, Plaintiff had been avoiding the DOL agent’s phone calls and had repeatedly

    promised to send information that was never received by the DOL. Id. Plaintiff also lied

    to the DOL by claiming that the COBRA notices had been sent to the former employees

    when they had not. See November 7, 2014 Declaration of Josh Daniel, submitted in



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    support of Defendant/Counter-Plaintiff’s Response to Plaintiff/Counter-Defendant’s

    Anti-SLAPP Motion to Dismiss (the “2014 Daniel Dec.”) at ¶ 10, Exh. H, Appendix

    (“App.”) 9-10, April 9, 2015 Deposition of Josh Daniel (“Daniel April Depo.”) at 36:7-

    38:23,	  1 App. 58-61.

                 Just as the DOL investigation was coming to light, BPIH learned from its 401k

    administrator that Clarke-Smith had not been depositing 401k withdrawals to employees’

    accounts in a timely manner. See Declaration of Bryan Jackson (“Jackson Dec.”) at ¶ 5,

    App. 78; Daniel April Depo. 187:14-189:19, App. 71-73. Thus, BPIH faced liability

    from the DOL for failing to properly handle COBRA notices and payments as well as

    liability for failing to promptly deposit employees’ 401k contributions. See 2014 Daniel

    Dec. at ¶¶ 10, 11, App. 9-10; Daniel April Depo. at 180:8-16, App. 70.

                 And after her termination, the company continued to find serious and inexplicable

    wrongdoing by Clarke-Smith. First, she took a company laptop and thumb drive with her

    when she left the office. Both of these items contained confidential information of the

    company, including employee records. Despite repeated demands, she has failed to

    return these items. Daniel 2014 Dec. at ¶ 8, App. 8-9.

                 Second, during a routine audit of the qualifications of the employees of certain

    laboratories that are clients of BPIH, BPIH discovered that a few employees did not have

    the qualifications required for their jobs. Two of these employees, James Wright and

    Andre Grant, listed the same address on their applications as Plaintiff’s home address.

    June 25, 2015 Deposition of Josh Daniel (“Daniel June Depo.”) at 27:1-9, App. 87 (Grant
    1	  All   deposition excerpts referenced herein are cited as page number: line numbers.

    2	  Plaintiff
              is in the process of obtaining the depositions of Mr. Grant and Mr. Wright, but
    they were not available prior to the deadline for this response. Accordingly, Mr. Grant’s
    statement is admissible at this stage as a statement against interest.	  	  See Fed. R. Evid.

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    had same address as Clarke-Smith and his emergency contact was Clarke-Smith’s

    daughter). One of these employees, Grant, stated when questioned that he “filled out the

    application the way he was told to,” and when pressed further, admitted to two human

    resources employees that Clarke-Smith had told him to lie on his application in order to

    obtain the job.2 Harrington Dec. ¶ 6, App. 4; Jackson Dec. ¶ 6, App. 78; Daniel June

    Depo.at 25:2-21, App. 86 (“Q: And what was his response? A: Nicole told me to.”).

    The laboratories require certain educational qualifications in order to maintain their

    licensing status, and therefore this lie could result in a sanction to the client. Daniel June

    Depo. at 31:15-32:14, App 88-89.

                                                                Third, BPIH learned that Plaintiff had entered into a multi-million dollar contract

    with ADP to provide payroll services. Plaintiff bound BPIH to this contract for several

    years without even discussing it with Mr. Daniel or anyone else at the company, let alone

    obtaining authorization to enter such a sizable contract on her own. BPIH ultimately had

    to pay over $100,000.00 to extricate itself from the unwanted contract. Daniel April

    Depo. at 95:18-96:18, App. 66-67.

                                                                Fourth, Plaintiff had failed to set up state income tax withholding properly in

    states other than Texas. While ADP processed the paychecks, it was Clarke-Smith’s

    responsibility to set up each employee properly in the system. Her failure to do so meant

    that employees in multiple states were not having state taxes withheld, which led to

    additional costs for BPIH in fixing the setup and paying any penalties incurred for such

    failure. Daniel April Depo. at 230:2-25, App. 75 (collection action by Louisiana); Daniel

    	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
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              is in the process of obtaining the depositions of Mr. Grant and Mr. Wright, but
    they were not available prior to the deadline for this response. Accordingly, Mr. Grant’s
    statement is admissible at this stage as a statement against interest.	  	  See Fed. R. Evid.
    804(a)(5)(B), 804(b)(3).

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    June Depo. at 78:12-82:3, App. 108-112.

                                                                Finally, BPIH discovered many incidents in which Clarke-Smith failed to obtain

    health, disability, and life insurance for employees (of BPIH and its clients) who signed

    up and paid for such coverage. The premiums for this insurance were being taken out of

    their paychecks, but the insurance policies were never purchased. Daniel April Depo. at

    226:1-10, App. 74: Daniel June Depo. at 84:8-85:17, 88:7-20, App. 113-115. In fact,

    BPIH is already facing claims from such employees, including one suffering from a

    terminal illness, which are currently in legal proceedings. Daniel April. Depo. at 226:11-

    21, App. 74.

                                                                Of course, it is impossible for BPIH to know Clarke-Smith’s true motivations, or

    to discern how she could have made so many errors when she claimed to be working 70

    to 80 hours a week. However, it appears that part of the explanation is that she was not

    just working for BPIH; she was also working for a company of which she is the CEO

    and/or President, and has been since 2010: Total Reward Partners. April 2, 2015

    Deposition of Nicole Clarke-Smith (“Clarke-Smith Depo.”) at 60:6-25, App. 150.

    Among other things, this company provides administrative, HR, and back-office support

    for its clients, including health care clients. Clarke-Smith Depo. at 47:15-50:2, App. 143-

    146.3 Needless to say, she never told BPIH that she was running a competing business.

    Daniel April Depo. at 24:12-19, App. 56; Clarke-Smith Depo. at 63:18-64:2, App. 151-

    52.

                                                                As an employee, Clarke-Smith was disloyal, reckless, fraudulent, and stole from

    her employer. BPIH is entitled to recompense for her misdeeds, and summary judgment

    	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
    3	  During
              her deposition, Clarke-Smith claimed that she could not recall the names of any
    of these clients, but that she would provide them later. She has failed to do so.	  

DEFENDANT’S RESPONSE TO MOTION FOR                                                                                                                                                                                                                                             5
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    in favor of Plaintiff on BPIH’s claims is not warranted.

                                III. ARGUMENTS AND AUTHORITIES

            A. The Evidence Shows Clarke-Smith Violated the CFAA.

            The Computer Fraud and Abuse Act (“CFAA”) provides in its pertinent part that

    “[w]hoever intentionally accesses a computer without authorization or exceeds authorized

    access, and thereby obtains information from any protected computer . . . shall be punished.”

    18 U.S.C. § 1030(a)(2)(C). Under 18 U.S.C. § 1030(a)(5)(C), the CFAA subjects to criminal

    liability someone who “intentionally accesses a protected computer without authorization, and

    as a result of such conduct, causes damage.” Although the CFAA is a criminal statute, it

    also provides a civil remedy. Under the civil enforcement provision of the CFAA, “[a]ny

    person who suffers damage or loss by reason of a violation of this section may maintain a

    civil action against the violator to obtain compensatory damages and injunctive relief or

    other equitable relief.” 18 U.S.C. § 1030(g); see also Nexans Wires S.A. v. Sark-USA, Inc.,

    166 Fed. App'x 559, 562 (2d Cir. Feb. 13, 2006 (recognizing that a plaintiff can bring a

    civil action if the plaintiff satisfies the factors set forth in 18 U.S.C. § 1030(c)(4)(A)(i)).

            Specifically, Plaintiff is liable under the CFAA if she accessed any of Defendant’s

    computers “ without authorization or exceed[ed] authorized access, and thereby

    obtain[ed]... information from any protected computer,” 18 U.S.C. § 1030(a)(2)(C), or

    “ intentionally accesse[d] a protected computer without authorization, and as a result of

    such conduct, cause[d] damage and loss,” 18 U.S.C. § 1030(a)(5)(C). Under the CFAA, a

    “protected computer” means a computer that is used in or affecting interstate or foreign

    commerce or communication...." 18 U.S.C. § 1030(e)(2)(B). Because Defendant’s computing

    devices are used extensively to transmit, receive, and exchange data such as client,



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    personal, business and confidential information including information for personal use,

    clients, employees, consultants, and partners inside and outside the state of Texas, Defendant’s

    computers are protected under the CFAA. See Declaration of Christopher Torrez (“Torrez

    Dec.”) at ¶ 2, App. 158. Indeed, Plaintiff seems to concede that the laptop is a protected

    computer.4 See Brief in Support of Motion at 5. However, she claims that there is no

    evidence that she has such a computer. This argument is simply incorrect.

                                                                Plaintiff had two company laptops when she was employed at BPIH. See Daniel June

    Depo. at 35:1-25, App. 90; Harrington Dec. at ¶ 2, App. 3; Jackson Dec. at ¶ 3, App. 77;

    Torrez Dec. at ¶ 3, App. 158. After Plaintiff left, only one of these two computers was ever

    found. Daniel April Depo. at 70:16-71:17, App. 64-65; Daniel June Depo. at 37:1-23; 41:3-6,

    App. 91-92; Harrington Dec. at ¶ 4, App. 3-4; Jackson Dec. at ¶ 4, App. 77-78; Torrez Dec. at

    ¶ 4, App. 158-59. And although, upon request, Plaintiff returned a number of items she had

    taken with her from the office, this computer was never returned. She did, however, return a

    laptop bag that she had filled with copies of papers she had taken with her when she left the

    office. Declaration of Nick Oberheiden (“Oberheiden Dec.”) at ¶ 2-3, App. 162; Torrez Dec.

    at ¶ 5, App. 159. The laptop that she did not return contained employee files and confidential

    materials of BPIH. Daniel 2014 Dec. at ¶ 8, App. 8-9; Daniel June Depo. at 57:21-58:7; App.

    95-96. Thus, her continued access to this computer kept this information, which belonged to

    BPIH, from BPIH and thus caused damage and loss. See 18 U.S.C. § 1030(e)(8) (“damage”

    is “any impairment to the integrity or availability of data, a program, a system, or

    information”).

                                                                Plaintiff argues that BPIH cannot prove she “accessed” this laptop after she was fired.

    	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
    4	  BPIH
          does not, however, allege that the stolen thumb drive is a computer within the
    meaning of the CFAA.

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    This argument fails for two reasons. First, courts find an excess or lack of authorization

    under the CFAA, even if some access was granted, whenever the use and access was

    contrary to the interests of the authorizing party. See, e.g., Patterson Custom Homes, Inc. v.

    Bach, 586 F. Supp. 2d 1026, 1035 (N.D. Ill. 2008) (employee's access to the employer's

    protected computer in a manner that exceeded her authority and installation of data

    shredding software that caused permanent deletion of files on the computer were sufficient

    to state a cause of action under the CFAA); see also Int'l Airport Centers v. Citrin, 440 F.3d

    418, 419-20 (7th Cir. 2006) (employee's installation of a “secure-erasure” program on his

    employer's computer was a violation of the CFAA). In this case, the evidence is undisputed

    that Clarke-Smith was competing with BPIH through Total Rewards Partners. Clarke-Smith

    Depo. at 47:19-53:6, App. 143-149. To the extent she used the files and forms on the laptop

    computer to support her competing business, that access was illegitimate and violated the

    CFAA.

                                                                Second, her continued possession of the laptop, in and of itself, is “access” to a

    protected computer under the CFAA. The statute does not require any specific type, amount,

    or quality of use of a computer – merely that the person has unauthorized access. A reasonable

    jury could find that Clarke-Smith wrongfully kept the laptop after being fired and infer that the

    only reason not to return the laptop would be to access the information it contained or to keep

    that information from BPIH.5

                                                                Finally, Clarke-Smith argues that BPIH cannot show it has suffered a loss of $5000 or

    	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
    5	  It
        cannot and should not be the law that Plaintiff can steal a computer, deny possession
    of it, and then escape liability for doing so by arguing that no one can prove that she has
    turned on the computer since she stole it. If the computer were available, Defendant
    could easily conduct a forensic examination of it to see what information it had contained
    and whether that information was misused. The only reason for Plaintiff to refuse to
    return the computer is that she does not want this information discovered.

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    more from her actions. “Loss,” under the CFAA, includes “any reasonable cost to any

    victim, including the cost of responding to an offense, conducting a damage assessment,

    and restoring the data, program, system, or information to its condition prior to the offense,

    and any revenue lost, cost incurred, or other consequential damages incurred because of

    interruption of service.” 18 U.S.C. § 1030(e)(11). BPIH has incurred expenses in excess of

    $5,000.00 in a number of ways, including having to hire attorneys to address the stolen and

    wrongfully-used laptop and having its IT department investigate the missing computer. See

    Oberheiden Dec. at ¶ 4, App. 163; Torrez Dec. at ¶ 4, App. 158-59; Daniel June Depo. at

    61:24-62:14, App. 97-98 (legal fees incurred in prosecuting this case and in Department of

    Labor investigation). These costs alone are enough to satisfy the damage threshold under the

    CFAA. See, e.g., Patterson Custom Homes, 586 F. Supp.2d at 1037 (the costs of

    responding to an offense under the CFAA constitute a “loss” under the statute). Indeed,

    courts have found that losses include the costs of seeking to “identify evidence of the

    breach, assess any damage it may have caused, and determine whether any remedial

    measures were needed to rescue the network.” Univ. Sports Pub. Co. v. Playmakers Media

    Co., 725 F. Supp. 2d 378, 388 (S.D.N.Y. 2010); see also Ipreo Holdings LLC v. Thomson

    Reuters Corp., No. 09 CV 8099, 2011 U.S. Dist. LEXIS 25356, *7 (S.D.N.Y. Mar. 7,

    2011) (holding that a plaintiff can meet the loss requirement through “damage assessment

    and/or remedial measures, even without pleading actual damage”).

           The CFAA provides protection against wrongful access and damage to

    computers. In this case, BPIH has presented sufficient evidence for a reasonable fact-

    finder to determine that Clarke-Smith wrongfully retained access to its computer, used

    the information stored therein, and caused it $5000 or more of damages. Therefore,



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    Plaintiff’s motion for summary judgment on this cause of action should be denied.

           B. The Evidence Shows Clarke-Smith Breached Her Fiduciary Duties.

           A fiduciary relationship of agency exists between an employee and employer.

    Abetter Trucking Co. v. Arizpe, 113 S.W.3d 503, 510 (Tex. App. -- Houston [1st Dist.]

    2003, no pet.) (citing Johnson v. Brewer & Pritchard, P.C., 73 S.W.3d 193, 200 (Tex.

    2000)). When such a fiduciary relationship exists, the employee has a duty to act

    primarily for the benefit of the employer in matters connected with his or her agency. Id.

    “The employee has a duty to deal openly with the employer and to fully disclose to the

    employer information about matters affecting the company's business.” Id. (citing Bray v.

    Squires, 702 S.W.2d 266, 270 (Tex. App. --Houston [1st Dist.] 1985, no writ.)). In fact,

    at her deposition, Clarke-Smith admitted that she had a fiduciary duty to BPIH, including

    a duty of loyalty and a duty of care:

           Q: Do you believe you had an obligation to be faithful to BPIH?

           A: Yes.

           Q: Do you believe you had an obligation to not harm BPIH?

           A: Absolutely.

           Q: Do you believe that you had an obligation to not betray BPIH?

           A: Absolutely.

           Q: Do you believe that you had a duty to be loyal to BPIH?

           A: Yes.

           Q: And act in the utmost good faith?

           A: Yes.

    Clarke-Smith Depo. at 24:5-18, App. 141.

           It is undisputed that Plaintiff owed BPIH a duty to act primarily for its benefit.


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    See Abetter Trucking Co, 113 S.W.3d at 510. Thus, Plaintiff breached her fiduciary duty

    by being the president of Total Rewards Partners, a company that competed with BPIH in

    providing administrative and human resources support to health care clients. Clarke-

    Smith Depo. at 47:19-53:6, App. 143-149. Plaintiff went so far as to create a DBA for Total

    Rewards, Managed Service Group, whose website advertises the provision of professional

    services to clients in the healthcare industry, while she was supposedly on medical leave from

    BPIH in February 2014. Clarke-Smith Depo. 92:7-93:6, 108:11-24, App. 153-155.

           Plaintiff further breached this duty when she acted for her own benefit rather than

    for the company’s, including by taking the company computer and files for her personal

    benefit, by instructing her relatives to lie on job applications in order to get hired by

    BPIH’s clients, and by entering into a contract with ADP without authorization. See

    Daniel 2014 Dec. at ¶¶ 10, 14, 16, and Exhs. C, K, App. 9, 11, 25, 49. In addition, her

    fiduciary relationship obligated Plaintiff to disclose to BPIH matters affecting its

    business. See Abetter, 113 S.W.3d at 110. Plaintiff’s failure to disclose the DOL

    investigation to BPIH’s CEO was thus a violation of her fiduciary duty. See Daniel 2014

    Dec. at ¶ 10, App. 9.

           Moreover, Plaintiff breached her fiduciary duty to BPIH by affirmatively lying to

    her employer and to the federal government, claiming to have fixed problems with

    COBRA and 401k issues and asserting that she had done things that she had not (such as

    mailing information to the DOL and sending out COBRA notices). Daniel 2014 Dec. at

    ¶¶ 5, 13 App. 8,10; Daniel June Depo. at 63:19-66:5, 71:5-75:10, App. 99-107; Daniel

    April Depo. at 103:1-104:3, App. 68-69.

           The evidence about the DOL investigation and Clarke-Smith’s role therein is



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    overwhelming. She did not send required COBRA notices to former employees, and then

    lied to the DOL on more than one occasion about providing documentation of those

    COBRA notices to the DOL. As Josh Daniel explained in his depositions:

           Q: So as of March 12 [2014], did you know anything about the fact that
           Ms. Johnson claimed not to have gotten COBRA paperwork other than
           what Chris Harrington told you as you described a few minutes ago in
           your testimony?

           A: By March 12?

           Q: Yes.

           A: Yes.

           Q: What else did you know by March 12? Anything else about that
           issue?

           A: I had contacted Ms. Johnson.

           ....

           Q: And what did you ask her?

           A: I asked if she received her COBRA paperwork.

           Q: What did she say?

           A: No.

           ....

           Q: Now, does – and the company contends that Ms. Clarke-Smith in fact
           didn’t send over the requested documents to DOL?

           A: Yes.

           Q: And is the basis of that what the DOL said or was there any other
           information that led the company to conclude that?

           A: We relied on the Department of Labor to be honest.

           ....

           Q: What else – what other evidence did the company have that would
           reflect as to whether Ms. Clarke-Smith had or had not sent over


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           documents relating to Delicia Johnson to DOL?

           A: From Nicole’s own statements to us.

           Q: And what were those statements?

           A: The locations of where we could find proof that Delicia Johnson’s
           COBRA paperwork had been submitted.

           ....

           Q: What did [the DOL] say about it?

           A: It was multiple conversations. And in some conversations they had –
           and all of this was through my attorney, by the way. I was not on the
           phone with the Department of Labor. But it’s my understanding that in
           multiple conversations at some point they conveyed that Nicole had said,
           Yes, I did go ahead and send it. And then I don’t know if it was prior to or
           subsequent to that, she had said, Well, we’re going to reach out to ADP in
           order to get you the necessary proof that the COBRA paperwork was sent,
           which was what triggered us to the fact that there was a huge problem.

           ....

           Q: Does the company know whether she either – that she did or didn’t
           reach out to ADP before she made the statement?

           A: The company knows that she did not.

           Q: And how does the company know that?

           A: Because ADP is not our COBRA administrator.

           Q: Well, regardless, Ms. Clarke-Smith could have called them, even if it
           was not going to assist. It’s possible she could have done it, correct? Do
           you know one way or the other whether she did?

           A: Well calling ADP wouldn’t be any different from calling a Subway
           Sandwich shop, they didn’t administer our COBRA.

    Daniel April Depo. 65:12-66:7, App. 62-63; Daniel June Depo. 132:9-133:5, 135:17-

    136:4, 139:20-140:7, App. 131-136. Clarke-Smith herself admits that she does not know

    whether Ms. Johnson in fact received her COBRA paperwork. Clarke-Smith Depo. at

    252:18-23, App. 156.



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                                                                Finally, contrary to Plaintiff’s assertion, the evidence of damages is clear. BPIH

    was damaged by having to pay back employees for COBRA coverage and 401k gains

    they would have had if not for Plaintiff’s actions. Daniel 2014 Dec. at ¶ 11, App. 10.

    BPIH was further damaged by having to hire attorneys to handle the DOL investigation.

    Daniel June Depo. 62:1-9, App. 98.

                                                                Plaintiff argues that “poor performance does not constitute a fiduciary duty

    breach.” Brief in Support of Motion at 7. This statement may be true. However, Clarke-

    Smith’s actions (and inactions) go well beyond “poor performance” and amounts to direct

    competition, lying, and concealing important matters affecting BPIH’s business.

    Therefore, summary judgment is not appropriate on BPIH’s claim of breach of fiduciary

    duty.

                                                                C. The Evidence Shows Clarke-Smith Tortiously Interfered.6

                                                                As Plaintiff admits, the evidence demonstrates that at least two clients canceled

    their contracts because of problems with the human resources department. Brief in

    Support of Motion at 8. However, Clarke-Smith claims that there is no evidence of

    willful and intentional interference, because as an agent, she can only have interfered

    with these contracts if she acted solely in her own personal interest. Brief in Support of

    Motion at 9.                                                                                                                      Once again, Clarke-Smith is ignoring the evidence that she was the

    President of a company that, by her own admission, competed with BPIH.7 Clarke-Smith


    	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
    6 	  Aswritten, BPIH’s counterclaim contains a claim for defamation and business
    disparagement. However, this cause of action was dismissed under the Texas Citizen’s
    Participation Act on Plaintiff’s motion and is no longer at issue.
    7	  BPIH has sought discovery about this company repeatedly, but, even after one hearing

    before Magistrate Judge Stickney, Clarke-Smith has still not produced the requested
    documents. BPIH plans to return to Magistrate Judge Stickney for further orders in light
    of Plaintiff’s failure to comply.

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    Depo. at 47:19-53:6, App. 143-149. An intention to interfere with BPIH’s contracts or

    potential contracts and then bid on the business from those clients for Total Rewards

    Partners can certainly be inferred by Clarke-Smith’s strange actions in this case. Intent in

    the context of tortious interference requires only that “the actor desires to cause the

    consequences of his act, or that he believes that the consequences are substantially certain

    to result from it.” Culbertson v. Lykos, ___ F.3d ____, No. 13-20569, 2015 U.S. App.

    LEXIS 10454, at *45 (5th Cir. June 22, 2015). Clarke-Smith surely knew that repeatedly

    sending incorrect payrolls and time sheets would be “substantially certain” to cause the

    cancellation of client contracts. Moreover, an agent can be shown to act solely in her

    personal interest when she “acted in a fashion so contrary to the corporation’s best

    interests that only the agent’s personal interests could have motivated the actions.” Ed

    Rachal Found. v. D’Unger, 117 S.W.3d 348, 366 (Tex. App. – Corpus Christi 2003),

    rev’d in part on other grounds, 207 S.W.3d 330 (Tex. 2006). Because Clarke-Smith’s

    actions were so contrary to BPIH’s interests, she must have been acting in her own

    interest. Why else would the head of an HR department, who claims to have a Ph.D. in

    health administration, Clarke-Smith Depo. at 33:6-7, App. 142, repeatedly enter incorrect

    payroll information for a health care client? See Daniel June Depo at 99:11-102:11;

    104:9-106:25, App. 119-125.

           With respect to the claim for tortious interference with prospective advantage,

    Plaintiff claims that BPIH has no more than “speculation” that client referrals would have

    led to additional contracts. Clarke-Smith purposefully ignores the testimony of Josh

    Daniel, given as a corporate representative, that the company was in discussions with a

    group of OB/GYNs and in the process of obtaining those contracts prior to Clarke-



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    Smith’s actions. June Daniel Depo at 110:20-111:4, App. 126-27; see also Culbertson,

    2015 U.S. App. LEXIS 10454 at *48 (tortious interference with prospective contract

    requires only “reasonable probability” of entering into contract).

           Finally, Clarke-Smith again claims that there is no evidence of damages. Of

    course, this claim is ridiculous. The damages are the amounts lost by cancellation of the

    monthly fees accrued under the canceled contracts and the amounts BPIH would have

    received under the potential contract. See Daniel June Depo. 95:22-97:16, App. 116-18.

    Sufficient evidence exists on the tortious interference claims for them to go to trial.

           D. The Evidence Shows Clarke-Smith Committed Theft and Conversion.

           Clarke-Smith’s argument for summary judgment on BPIH’s theft and conversion

    claims stretches the boundaries of common sense. First, Clarke-Smith claims that BPIH

    has no evidence that she stole a laptop and a thumb drive (and the associated information

    on those devices) because no one saw her leaving the building with the computer, and

    BPIH did not search exhaustively enough for the thumb drive. The argument about the

    laptop is ridiculous; no one saw Clarke-Smith leave the office at all, so they could not

    have seen her leave with the laptop. Daniel April Depo. 71:1-6, App. 99. The evidence

    that Clarke-Smith had two laptop computers is clear, as is the evidence that the second

    laptop was never recovered. See Torrez Dec. ¶¶ 3-4, App. 158-59; Harrington Dec.¶ 3-4,

    App. 3-4; Jackson Dec. ¶ 3-4, App. 77-78. As to the thumb drive, it was Clarke-Smith

    herself who stated that the “thumbnail” [sic] was either in the “top left-hand draw [sic]”

    of her desk or she had it in her possession. See Daniel 2014 Dec. Exh. K, App. 49;

    Daniel June Depo. 49:10-17, App. 93 (“She said that the flash drive was either located in

    the – in her right-hand desk drawer or it might be on her.”). The HR department searched



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    in the desk drawers as well as in other places in her office they thought it might be, but

    could not find it. See Harrington Dec.¶ 3-4, App. 3-4; Jackson Dec. ¶ 3-4, App. 77-78.

    The only logical conclusion is that Clarke-Smith herself has the thumb drive (a

    possibility she herself suggested), which supposedly contains evidence relevant to the

    DOL investigation into COBRA notices.

           Second, Clarke-Smith claims that BPIH has no damages. BPIH has clearly been

    damaged by the loss of a thumb drive and a laptop computer: the items themselves have

    value that is recoverable as damages. See Torrez Dec. ¶ 6, App. 159. Additionally, BPIH

    has been damaged by having the proprietary information on those devices, some of which

    does not exist elsewhere in the company, withheld from it. Daniel June Depo. at 116:21-

    118:22, App. 128-30 (company has been damaged by theft because “there’s proprietary

    information that is company property that is now in the possession of someone outside of

    the company”).

           Finally, Clarke-Smith claims that BPIH never requested that she return a laptop or

    a thumb drive. This argument, too, is unavailing. BPIH first requested Clarke-Smith

    come back to the office to exchange property in its termination letter, which she refused

    to do. Daniel 2014 Dec. Exh. J, K, App. 47-51. Next, after a telephone discussion about

    BPIH’s claims, Clarke-Smith’s attorney sent BPIH a full laptop bag, which was turned

    over to the IT department. However, when the bag was opened, it contained nothing but

    copies of the documents Clarke-Smith had taken upon leaving her office for the last time.

    See Oberheiden Dec. ¶¶ 2-3, App. 162, Torrez Dec. ¶ 5, App. 159. Finally, considering

    that Clarke-Smith has repeatedly complained about BPIH’s state court lawsuit against her

    and its counterclaims against her here, she can hardly claim now that she does not think



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    BPIH has expressed that it would like its laptop and thumb drive, and the information

    contained therein, returned.

           E. The Evidence Shows Clarke-Smith Stole Trade Secrets.

           Plaintiff argues that BPIH cannot support its claim for theft of trade secrets

    because: 1) BPIH does not know what information is on the laptop computer or thumb

    drive; 2) Clarke-Smith did not improperly acquire the trade secrets, because she was

    entitled to them as an employee; 3) BPIH cannot show that Clarke-Smith used or

    disclosed its information; and 4) BPIH has no evidence of damages or actual or

    threatened misappropriation. Brief in Support of Motion at 13-14. To the contrary,

    BPIH has enough evidence on each element of this claim to survive summary judgment

    and proceed to trial.

           First, Clarke-Smith herself stated that she kept information related to COBRA

    filings on the thumb drive, see 2014 Daniel Dec. Exh. K, App. 49, and BPIH’s CEO

    testified that both the laptop and the thumb drive contained information that the company

    treated as trade secrets. Daniel June Depo. at 54:15-18 (employee records); 57:21-58:7

    (payroll records, 1099 marketing information, notes about employees, statistical information,

    financial information), App. 94-96. While it is true that no one other than Clarke-Smith

    can say exactly what information is contained in the items she refuses to return or

    produce, the company’s evidence about her use of those items, combined with her own

    statements, is sufficient to show that such information included trade secrets.          See

    Jackson Dec. ¶¶ 2-3, App. 77; Harrington Dec. 2-3, App. 3.

           Second, while Clarke-Smith had the authority to access these trade secrets while

    she was employed by BPIH, she had no authority to continue to access them after her



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    employment ended. Clarke-Smith appears to argue that a former employee can never be

    guilty of misappropriation of trade secrets; such an argument is specious. See, e.g.,

    Digital Generation, Inc. v. Boring, 869 F. Supp. 2d 761, 779 (N.D. Tex. 2012) (“It is well

    established, however, that even without an enforceable contractual restriction a former

    employee is precluded from using for his own advantage, and to the detriment of his

    former employer, confidential information or trade secrets acquired by or imparted to him

    in the course of his employment.”).

           Third, the fact that Clarke-Smith is a competitor of BPIH through her company

    Total Rewards Partners could lead a reasonable juror to infer that she took the secrets and

    refuses to return them so that she can use them in her own business. In any case, she is

    depriving BPIH of the use of those items, which is sufficient to find both

    misappropriation and damages.      See University Computing Co. v. Lykes-Youngstown

    Corp., 504 F.2d 518, 535 (5th Cir. 1974) (noting that damages for theft of trade secrets

    may be measured in same way as patent damages, and that loss of value of information to

    plaintiff may be one such method of measurement).

           Finally, BPIH’s damages for theft of trade secrets could also be judged by a

    “reasonable royalty” standard. See University Computing, 504 F.2d at 536 (recognizing

    that reasonable royalty standard can be applied even if defendants did not profit from

    stolen trade secrets, because “the lack of actual profits does not insulate the defendants

    from being obliged to pay for what they have wrongfully obtained in the mistaken belief

    their theft would benefit them”); see also Alcatel USA, Inc. v. Cisco Sys., Inc., 239 F.

    Supp. 2d 660, 665 (E.D. Tex. 2002) (noting that reasonable royalty approach is

    appropriate where “the trade secret has not been destroyed, where the plaintiff is unable



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    to prove specific injury, and where the defendant has not gained any profits by which to

    value the secrets”). The evidence demonstrates that BPIH charges its clients fees for

    providing human resources services, and a reasonable rate for such royalty could

    therefore be determined by reference to the amounts BPIH’s clients pay. See Daniel June

    Depo. 95:22-97:16, App. 116-18. And although each client contract had different terms,

    id., uncertainty of damages does not preclude recovery for theft of trade secrets; BPIH is

    entitled to have the fact-finder determine what a reasonable royalty would be. University

    Computing, 504 F.2d at 538-39 (“every case requires a flexible and imaginative approach

    to the problem of damages”).

           F. The Evidence Shows Clarke-Smith Committed Fraud.

           To prove fraud, BPIH must establish that (1) a material misrepresentation was

    made; (2) the representation was false; (3) when the representation was made, the speaker

    knew it was false or made the statement recklessly without any knowledge of the truth;

    (4) the speaker made the representation with the intent that the other party should act on

    it; (5) the party acted in reliance on the representation; and (6) the party thereby suffered

    injury. Tex. Integrated Conveyor Sys. v. Innovative Conveyor Concepts, 300 S.W.3d 348,

    366 (Tex. App.--Dallas 2009, pet. denied) (citing Formosa Plastics Corp. USA v.

    Presidio Eng's & Contractors, Inc., 960 S.W.2d 41, 47 (Tex. 1998)).               Fraud by

    nondisclosure is a subcategory of fraud, and silence is equivalent to a false representation

    “when the particular circumstances impose a duty on the party to speak and he

    deliberately remains silent.” Bradford v. Vento, 48 S.W.3d 749, 755 (Tex. 2001).

           While traditional or actual fraud requires fraudulent intent, constructive fraud

    does not, and the actor's intent is irrelevant. Tex. Integrated Conveyor, 300 S.W.3d at



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    366.   “Constructive fraud encompasses those breaches that the law condemns as

    fraudulent merely because they tend to deceive others, violate confidences, or cause

    injury to public interests, the actor's mental state being immaterial. Constructive fraud is

    the breach of a legal or equitable duty which the law declares fraudulent because it

    violates a fiduciary relationship.” Id. (internal citations omitted). A breach of fiduciary

    duty that causes injury to another is always fraudulent; whether that fraud is actual or

    constructive is determined by the actor's mental state or moral culpability. Fidelity Nat'l

    Title Ins. Co. v. Heart of Tex. Title Co., 2000 Tex. App. LEXIS 72, *9-10 (Tex. App.--

    Austin Jan. 6, 2000, pet. denied). As shown above, Clarke-Smith breached her fiduciary

    duties to BPIH; in so doing, she committed fraud.

           Even if Clarke-Smith did not breach a fiduciary duty, she committed fraud by 1)

    stating that benefit issues had been resolved when they had not, and she knew that they

    had not; 2) failing to tell her employer that the DOL was investigating its COBRA

    mailings when she had a duty to speak; and 3) instructing potential employees to lie on

    their job applications, knowing that BPIH’s clients were subject to state laws requiring

    certain educational levels for certain jobs. Daniel 2014 Dec. at ¶ 5, App. 8; Harrington

    Dec. at ¶¶ 5-6; App. 4; Jackson Dec. at ¶ 6, App. 78-79. BPIH relied on these statements

    by continuing to employ Clarke-Smith and not hiring someone else to run the HR

    department, and by recommending their clients hire the applicants without the proper

    education. See Daniel April Depo. at 30:3-7, App. 57; Daniel 2014 Dec. ¶¶4-5, 14, App.

    8, 11. BPIH was damaged because the cost of the DOL investigation and the 401k

    remuneration was increased each day that Clarke-Smith lied about the 401k issues and

    hid the DOL investigation, and because of the costs of re-training new employees after



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    firing those without the proper education. Id.

           In her motion for summary judgment, Clarke-Smith ignores the above evidence

    and relies solely on the testimony given at the deposition of Josh Daniel as BPIH’s

    corporate representative regarding the basis for BPIH’s fraud claim, ignoring the

    testimony he gave at his personal deposition or in previous declarations, the testimony of

    Clarke-Smith about her competing business, or the allegations made in BPIH’s

    counterclaims. Of course, a corporate representative is not required to state the law,

    marshal all the facts, or explain the company’s legal strategy at his deposition. See James

    C. Winton, Corporate Representative Depositions Revisited, 65:3 BAYLOR LAW REV.

    942, 984 (2013) (“corporate representative depositions were never intended to serve as

    contention discovery, [because]. . . it is unreasonable to expect any human being in the

    setting of a deposition to synthesize complex factual and legal positions for a party’s

    opponent”); see also U.S. ex rel. Baklid-Kunz v. Halifax Hosp. Med. Ctr., No. 6:09-cv-

    1002-Orl-31TBS, 2012 U.S. Dist. LEXIS 114222, at *12 (M.D. Fla. Aug. 14, 2012)

    (noting that preparing lay witness to testify about how party intended to marshal facts

    would be difficult, time-consuming, and “almost certainly result in the disclosure of work

    product privileged information”); Neponset Landing Corp. v. Nw. Mut. Life Ins. Co., 279

    F.R.D. 59, 61 (D. Mass. 2011) (30(b)(6) witness “should not be expected to testify as to

    how . . . facts form the basis of a legal affirmative defense”); J.P. Morgan Chase Bank v.

    Liberty Mut. Ins. Co., 209 F.R.D. 361, 362 (S.D.N.Y. 2002) (“depositions, including

    30(b)(6) depositions, are designed to discover facts, not contentions or legal theories . . .

    .”); U.S. v. Taylor, 166 F.R.D. 356, 362 n.7 (M.D.N.C. 1996) (noting that such questions

    are better answered through contention interrogatories “wherein the client can have the



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    assistance of the attorney in answering complicated questions involving legal issues”). In

    this case, the basis for the fraud claim is clearly laid out in the counterclaim, the response

    to the motion to dismiss, and above. There is more than sufficient evidence that Clarke-

    Smith committed fraud against BPIH for this claim to proceed to trial.

           G. The Evidence Shows Clarke-Smith Was Actionably Negligent.

           Clarke-Smith claims that she cannot be liable for negligence because such a

    finding would require every employee to perform his or her job “perfectly.” Of course,

    negligence is not the same as a simple error. BPIH has shown not just negligence, but

    gross negligence on the part of Clarke-Smith.

           Plaintiff accurately enumerates the elements of negligence as (1) a legal duty

    owed; (2) breach of that duty; and (3) injury proximately caused by the breach. See Van

    Horn v. Chambers, 970 S.W.2d 542, 544 (Tex. 1998). But the accuracy of Plaintiff’s

    analysis ends there. First, as shown in section B, supra, Plaintiff breached the fiduciary

    duty she owed to BPIH and caused it damage.              This alone is sufficient to show

    negligence.

           Only two additional requirements must be established to prove gross negligence:

    (1) an act or omission that involves an extreme degree of risk, considering the probability

    and magnitude of the potential harm to others, and (2) a mental state of actual, subjective

    awareness of the risk, but the actor proceeds with conscious indifference to the rights,

    safety, or welfare of others. Van Voris v. Team Chop Shop, LLC, 402 S.W.3d 915, 921

    (Tex. App.--Dallas 2013, no pet.) (citing TEX. CIV. PRAC. & REM . CODE § 41.001(11).

    “In essence, a person commits gross negligence when he knows full well that his conduct

    poses an extreme risk of harm to others and yet does not care.” Id. In this case, Plaintiff



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    failed to make COBRA and other insurance payments on behalf of employees and former

    employees. Daniel 2014 Dec. at ¶¶ 5, 15 App. 8,11. Lack of insurance for which

    employees had paid created an extreme degree of risk both for those employees and for

    BPIH, who would have to pay for any accidents or illnesses that happened while such

    employees were not covered. See id. BPIH has, in fact, been faced with claims for such

    losses. As the director of human resources, Plaintiff must have been well aware of the

    risks of uninsured employees. Therefore, BPIH has shown a prima facie case of both

    negligence and gross negligence.

           Yet, according to Plaintiff, an employee cannot be held liable for “making a

    mistake” at work. While the law does not require perfection, it does require that people

    act with due care. Clarke-Smith admits that she had such a duty to her employer.

    Clarke-Smith Depo. at 24:5-18; App. 141. And while Clarke-Smith has cited no case

    holding that an employee has no duty to his or her employer, many cases confirm that

    employees do, indeed, have a duty of care in their employment relationship. See, e.g.,

    Johnson v. Brewer & Pritchard, P.C., 73 S.W.3d 193, 203 (Tex. 2002) (holding that

    employees may owe duties to employers); Abetter Trucking Co. v. Arizpe, 113 S.W.3d

    503, 510-11 (Tex. App. -- Houston [1st Dist.] 2003, no pet.) (key trucking company

    employee owed employer a duty); Herider Farms-El Paso, Inc. v. Criswell, 519 S.W.2d

    473, 477 (Tex. Civ. App. -- El Paso 1975, writ ref'd n.r.e.) (retail poultry and egg outlet

    manager held a position giving rise to fiduciary duties to his employer); see also Mabrey

    v. SandStream, Inc., 124 S.W.3d 302, 316 (Tex. App. -- Fort Worth 2003, no pet.) (“even

    apart from any written contract, a fiduciary relationship arises from an employment

    relationship forbidding an employee from using trade secrets or confidential or



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    proprietary information in a manner adverse to the employer”).

           Finally, as demonstrated repeatedly above, BPIH has provable damages for each

    of its claims against Clarke-Smith. It had to pay COBRA for those employees who were

    not properly covered; it had to pay employees and clients for 401k gains that were not

    realized because the deposits were not made; it is facing claims from clients and

    employees for failure to properly procure insurance; and it paid over $100,000.00 to

    extricate itself from an unauthorized contract signed by Plaintiff.

                                 IV. CONCLUSION AND PRAYER

           Defendant has shown that a reasonable fact-finder could rule for it on each of its

    claims against Plaintiff. For that reason, summary judgment must be denied so that these

    claims may be brought to trial and any questions of fact resolved.

           WHEREFORE, Defendant requests that Plaintiff’s motion for summary judgment

    be denied and for such other and further relief as this Court may deem just and proper.




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